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 Attachment 1


                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA
             COURT CASE NUMBER: 22-CR-228-JFH; NOTICE OF FORFEITURE

         Notice is hereby given that on October 20, 2023, in the case of U.S. v. Jerry Dee
 Keys and Cristi Lea Keys, Court Case Number 22-CR-228-JFH, the United States District
 Court for the Northern District of Oklahoma entered an Order condemning and forfeiting
 the following property to the United States of America:

        A Taurus, Model 63, .22LR caliber rifle, serial number XC6950 (23-ATF-037898)

        Approximately 7 rounds of assorted 9mm caliber ammunition (23-ATF-037908)

        Approximately 576 rounds of various calibers and brands of
        ammunition(23-ATF-037909)

         The United States hereby gives notice of its intent to dispose of the forfeited
 property in such manner as the United States Attorney General may direct. Any person,
 other than the defendant(s) in this case, claiming interest in the forfeited property must file
 an ancillary petition within 60 days of the first date of publication (December 22, 2023) of
 this Notice on this official government internet web site, pursuant to Rule 32.2 of the
 Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition
 must be filed with the Clerk of the Court, 333 West Fourth Street, Room 411, Tulsa, OK
 74103, and a copy served upon Assistant United States Attorney Reagan Reininger, 110
 West Seventh Street, Suite 300, Tulsa, OK 74119. The ancillary petition shall be signed
 by the petitioner under penalty of perjury and shall set forth the nature and extent of the
 petitioner's right, title or interest in the forfeited property, the time and circumstances of the
 petitioner's acquisition of the right, title and interest in the forfeited property and any
 additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
 U.S.C. § 853(n).

         Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
 are filed, following the expiration of the period specified above for the filing of such
 ancillary petitions, the United States shall have clear title to the property and may warrant
 good title to any subsequent purchaser or transferee.

         The government may also consider granting petitions for remission or mitigation,
 which pardon all or part of the property from the forfeiture. A petition must include a
 description of your interest in the property supported by documentation; include any facts
 you believe justify the return of the property; and be signed under oath, subject to the
 penalty of perjury, or meet the requirements of an unsworn statement under penalty of
 perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
 mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
 the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
 forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be




                                                                                                   Exhibit B
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 made in any particular form and may be filed online or in writing. You should file a petition
 for remission not later than 11:59 PM EST 30 days after the date of final publication of this
 notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
 website provides access to a standard petition for remission form that may be mailed and
 the link to file a petition for remission online. If you cannot find the desired assets online,
 you must file your petition for remission in writing by sending it to Assistant United States
 Attorney Reagan Reininger, 110 West Seventh Street, Suite 300, Tulsa, OK 74119. This
 website provides answers to frequently asked questions (FAQs) about filing a petition for
 remission. You may file both an ancillary petition with the court and a petition for
 remission or mitigation.
